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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                      NO. CR20-125-RSM
11                             Plaintiff,
12                       v.
13
      GARY STENSLAND,                                PRELIMINARY
14                                                   ORDER OF FORFEITURE
15                            Defendant.
16
17
18         THIS MATTER comes before the Court on the United States’ Motion for Entry of
19 a Preliminary Order of Forfeiture (“Motion”) seeking to forfeit, to the United States, the
20 Defendant Gary Stensland’s interest in the following property:
21          1. One Apple iPhone XR, serial number G0NZ26JRKXKY, seized from the
22               Defendant on or about August 6, 2020; and,
23          2. One Apple MacBook A1278 computer, seized from the Defendant on or about
24               August 6, 2020.
25         The Court, having reviewed the United States’ Motion, as well as the other papers
26 and pleadings filed in this matter, hereby FINDS entry of a Preliminary Order of
27 Forfeiture is appropriate because:
28              • The above-identified electronics are forfeitable pursuant to 18 U.S.C.
     Preliminary Order of Forfeiture - 1                                 UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     United States v. Stensland, CR20-125-RSM
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1                   § 2253(a), as the Defendant used them to commit or to facilitate
 2                   commission of Distribution of Child Pornography, in violation of 18 U.S.C.
 3                   § 2252(a)(2) and (b)(1), and Possession of Child Pornography, in violation
 4                   of 18 U.S.C. § 2252(a)(4)(B) and (b)(2); and,
 5               • Pursuant to the plea agreement he entered on February 18, 2021, the
 6                   Defendant agreed to forfeit these electronics pursuant 18 U.S.C. § 2253(a)
 7                   (Dkt. No. 36, ¶ 14).
 8
 9          NOW, THEREFORE, THE COURT ORDERS:
10          1)       Pursuant to 18 U.S.C. § 2253(a) and his plea agreement, the Defendant’s
11 interest in the above-identified electronics is fully and finally forfeited, in its entirety, to
12 the United States;
13          2)       Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Preliminary Order will
14 be final as to the Defendant at the time he is sentenced, it will be made part of the
15 sentence, and it will be included in the judgment;
16          3)       The U.S. Department of Justice, the Federal Bureau of Investigation (FBI)
17 and/or their authorized agents or representatives shall maintain the electronics in their
18 custody and control until further order of this Court. FBI shall destroy any prohibited
19 images unless they have been destroyed already or will be retained for official,
20 investigative use, as permitted by 21 U.S.C §§ 853(i) and 881(e);
21          4)       Pursuant to Fed. R. Crim. P. 32.2(b)(6) and 21 U.S.C. § 853(n), the
22 United States shall publish notice of this Preliminary Order and its intent to dispose of the
23 electronics as permitted by governing law. The notice shall be posted on an official
24 government website – currently www.forfeiture.gov – for at least thirty (30) days. For
25 any person known to have alleged an interest in the electronics, the United States shall, to
26 the extent possible, provide direct written notice to that person. The notice shall state that
27 any person, other than the Defendant, who has or claims a legal interest in the electronics
28 must file a petition with the Court within sixty (60) days of the first day of publication of
      Preliminary Order of Forfeiture - 2                                    UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
      United States v. Stensland, CR20-125-RSM
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
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 1 the notice (which is thirty (30) days from the last day of publication), or within thirty (30)
 2 days of receipt of direct written notice, whichever is earlier. The notice shall advise all
 3 interested persons that the petition:
 4               a. shall be for a hearing to adjudicate the validity of the petitioner’s alleged
                    interest in the electronics;
 5
 6               b. shall be signed by the petitioner under penalty of perjury; and,
 7               c. shall set forth the nature and extent of the petitioner’s right, title, or interest
 8                  in the electronics, as well as any facts supporting the petitioner’s claim and
                    the specific relief sought.
 9
10         5)       If no third-party petition is filed within the allowable time period, the
11 United States shall have clear title to the electronics, and this Preliminary Order shall
12 become the Final Order of Forfeiture as provided by Fed. R. Crim. P. 32.2(c)(2);
13         6)       If a third-party petition is filed, upon a showing that discovery is necessary
14 to resolve factual issues it presents, discovery may be conducted in accord with the
15 Federal Rules of Civil Procedure before any hearing on the petition is held. Following
16 adjudication of any third-party petitions, the Court will enter a Final Order of Forfeiture,
17 pursuant to Fed. R. Crim. P. 32.2(c)(2) and 21 U.S.C. § 853(n), reflecting that
18 adjudication; and,
19         7)       The Court will retain jurisdiction for the purpose of enforcing this
20 Preliminary Order, adjudicating any third-party petitions, entering a Final Order of
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23 ///
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     Preliminary Order of Forfeiture - 3                                       UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
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 1 Forfeiture, and amending the Preliminary Order or Final Order as necessary pursuant to
 2 Fed. R. Crim. P. 32.2(e).
 3          IT IS SO ORDERED.
 4
            DATED this 5th day of November, 2021.
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 7
 8                                               A
                                                 RICARDO S. MARTINEZ
 9                                               CHIEF UNITED STATES DISTRICT JUDGE
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11
12
13
14
15 Presented by:
16
17    /s/ Michelle Jensen
18   MICHELLE JENSEN
     Assistant United States Attorney
19   United States Attorney’s Office
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     Seattle, WA 98101
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22   Michelle.Jensen@usdoj.gov
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      Preliminary Order of Forfeiture - 4                             UNITED STATES ATTORNEY
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      United States v. Stensland, CR20-125-RSM
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